          Case 3:23-cv-00302-KC        Document 23        Filed 03/22/24     Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 BRANDON L. CALLIER,                           §
                                               §
      Plaintiff,                               §
                                               §
 v.                                            §    CAUSE NO. EP-23-CV-302-KC
                                               §
 POWUR PBC,                                    §
                                               §
      Defendant.                               §
                                             ORDER

         On this day, the Court considered the case. On February 29, 2024, Defendant filed a

Motion for Partial Summary Judgment (“Motion”), ECF No. 16. After Plaintiff did not timely

respond, the Court ordered him to “file a response to the Motion no later than April 8, 2024” and

to show cause for not yet responding. Mar. 18, 2024, Order, ECF No. 20. On March 21, 2024,

Plaintiff informed the Court that he mistakenly believed there was a twenty-one-day deadline to

respond—rather than fourteen days, as set forth in the Local Rules—and thus wrongly

“prioritized his workload based on [that] misunderstanding of the deadlines.” Pl.’s Resp. to

Court’s Order Show Cause 1, ECF No. 22.

         While the Court admonishes Plaintiff for not adhering to the filing requirements provided

in the Local Rules, the Court FINDS that Plaintiff has shown good cause for failing to timely

respond. As stated in the March 18 Order, Plaintiff shall FILE a response to the Motion by no

later than April 8, 2022, in compliance with the Local Rules and the Court’s Standing Order

Regarding Motions for Summary Judgment, accessible at https://www.txwd.uscourts.gov/wp-

content/uploads/2022/12/Standing-Order-Regarding-Motions-for-Summary-Judgment.pdf.
Case 3:23-cv-00302-KC       Document 23    Filed 03/22/24   Page 2 of 2




SO ORDERED.

SIGNED this 22nd day of March, 2024.




                           KATHLEEN CARDONE
                           UNITED STATES DISTRICT JUDGE




                                       2
